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 6
     Attorneys for Defendant Mars, Incorporated
 7

 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10    JENILE THAMES,                                     Case No. 22-cv-04145-JD

11    Plaintiff,
                                                         STIPULATION TO EXTEND TIME TO
12       vs.                                             RESPOND TO THE COMPLAINT AND
13                                                       TO SET BRIEFING SCHEDULE FOR
      MARS, INCORPORATED,                                MOTION TO DISMISS
14
      Defendant                                          [PROPOSED] ORDER
15

16          IT IS HEREBY STIPULATED and AGREED by and between Plaintiff, Jenile Thames,
17   and Defendant, Mars, Incorporated, pursuant to Federal Rule of Civil Procedure 6(b) and Local
18   Civil Rule 6-1(a), that:
19          1.      Defendant’s deadline to file its motion to dismiss or otherwise respond to
20   Plaintiff’s Class Action Complaint served on July 20, 2022 (“Complaint”) is extended to
21   September 30, 2022. This change will not alter the date of any event or any deadline already
22   affixed by Court order. This extension does not constitute a waiver of any claim, right, or
23   defense.
24          THE PARTIES FURTHER STIPULATE AND AGREE, pursuant to Federal Rule of
25   Civil Procedure 6(b) and Local Civil Rule 6-1(b) and subject to the approval of the Court, that:
26          2.      Plaintiff’s deadline to file an opposition to Defendant’s motion to dismiss will
27   be November 3, 2022.
28          3.      Defendant’s deadline to file a reply will be November 17, 2022.
      STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT AND TO SET BRIEFING SCHEDULE
              FOR MOTION TO DISMISS WITH PROPOSED ORDER – CASE NO. 22-cv-04145-JD
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                 Case 3:22-cv-04145-JD Document 17 Filed 08/29/22 Page 2 of 3



 1          4.      Hearing on Defendant’s Motion to Dismiss will be scheduled to occur on

 2   December 1, 2022.

 3

 4   Dated: August 26, 2022                               Respectfully submitted,

 5   BURSOR & FISHER, P.A.                                WILLIAMS & CONNOLLY LLP
 6
     By: /s/ L. Timothy Fisher                            By: /s/ David M. Horniak
 7       L. Timothy Fisher                                    David M. Horniak

 8   L. Timothy Fisher (SBN 191626)                       Stephen D. Raber (SBN 121958)
     Sean L. Litteral (SBN 331985)                        David Horniak (SBN 268441)
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            slitteral@bursor.com
13          elopez@bursor.com
14
     Attorneys for Plaintiff Jenile Thames                Attorneys for Defendant Mars,
15                                                        Incorporated

16                                           ATTESTATION
17          Pursuant to Local Rule 5-1(h)(3), I hereby attest that each of the other signatories to
18   this document have concurred in the filing of this document.
19

20                                                        /s/ David M. Horniak
                                                          David M. Horniak
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      STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT AND TO SET BRIEFING SCHEDULE
              FOR MOTION TO DISMISS WITH PROPOSED ORDER – CASE NO. 22-cv-04145-JD
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               Case 3:22-cv-04145-JD Document 17 Filed 08/29/22 Page 3 of 3



 1                              UNITED STATES DISTRICT COURT

 2                           NORTHERN DISTRICT OF CALIFORNIA

 3    JENILE THAMES,                                    Case No. 22-cv-04145-JD

 4    Plaintiff,
                                                        [PROPOSED] ORDER EXTENDING
 5
         vs.                                            TIME TO RESPOND TO THE
 6                                                      COMPLAINT AND SETTING BRIEFING
      MARS, INCORPORATED,                               SCHEDULE FOR MOTION TO DISMISS
 7
      Defendant
 8

 9

10          Upon consideration of the Stipulation to Modify Schedule for Motion to Dismiss, it is
11
     hereby ORDERED that the Stipulation is GRANTED. Defendant’s deadline to file Motion to
12
     Dismiss Plaintiff’s Class Action Complaint is extended to September 30, 2022. Plaintiff’s
13
     deadline to file an Opposition to Defendant’s Motion to Dismiss is November 3, 2022.
14

15   Defendant’s deadline to file a Reply is November 17, 2022. Hearing on Defendant’s Motion to

16   Dismiss will be scheduled to occur on December 1, 2022.

17   Dated: August 29, 2022
18

19
                                                                   JAMES DONATO
20                                                                 United States District Judge

21

22
     cc: All counsel of record via ECF
23

24

25

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27

28
      STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT AND TO SET BRIEFING SCHEDULE
              FOR MOTION TO DISMISS WITH PROPOSED ORDER – CASE NO. 22-cv-04145-JD
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